 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 1 of 16 PageID #:1059



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION



UNITED STATES OF AMERICA,

                        Plaintiff,               Case No. 09 CR 0687

            v.
                                             Hon. Harry D. Leinenweber
MONTREECE KINDLE,

                        Defendant.



                       MEMORANDUM OPINION AND ORDER

       Defendant Montreece Kindle (hereinafter, “Kindle”) moves for

a judgement of acquittal pursuant to Federal Rule of Criminal

Procedure 29 or, in the alternative, a new trial pursuant to

Federal Rule of Criminal Procedure 33.              For the reasons stated

below, Defendant’s motion is denied.

                               I.   BACKGROUND

                               A.    Procedure

       Defendant Montreece Kindle was arrested on August 10, 2009,

along with Leslie Mayfield (“Mayfield”), Nathan Ward (“Ward”), and

Dwayne White (“White”). On September 9, 2009, a grand jury charged

the four defendants with (Count 1) conspiracy to possess with

intent to distribute five kilograms or more of cocaine; (Count 2)

attempted possession with intent to distribute five kilograms or

more   of   cocaine;   and   (Count    3)   possession     of   a   firearm   in
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 2 of 16 PageID #:1060



furtherance of the conspiracy to possess with intent to distribute

five or more kilograms of cocaine.           The grand jury also charged

Kindle with (Count 5) possession of a firearm after having been

convicted of a felony.

     Kindle was tried separately from the other three defendants in

the case.    The trial began on May 24, 2010 and lasted three days.

On May 26 the jury returned a verdict and found Kindle guilty on

all counts (Counts 1, 2, 3, and 5).           The Court set a deadline of

June 29 for post-trial motions.             On June 25, Kindle filed the

present motion for acquittal or a new trial, alleging that there

was insufficient evidence that Kindle joined a drug distribution

conspiracy   or    that   he    attempted    to   possess    with   intent    to

distribute drugs.      Kindle argues that if he is acquitted on these

counts, then he must also be acquitted on all the weapons charges.

                           B.   Evidence at Trial

                  1.   Testimony and Recordings of Gomez

     Agent Gomez (“Gomez”) testified that he operated undercover

and posed as a disgruntled drug courier in this case.               His role in

the case began when a confidential informant introduced him to

Mayfield in a meeting on July 23, 2009.           The meeting took place in

Gomez’s undercover vehicle, which was an SUV wired to record the

meeting. During this first meeting, Gomez explained to Mayfield

that he transported cocaine from a stash house once a month but was

unhappy with the compensation he received.            He told Mayfield that


                                    - 2 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 3 of 16 PageID #:1061



the stash house usually had 25-35 kilograms of cocaine in it when

he arrived, and this was usually guarded by three people with guns.

He explained that he needed a crew to help him rob the stash house,

and had heard that Mayfield might be able to provide such a crew.

After some further discussion on the details of the stash house,

Mayfield agreed to bring a crew to meet with Gomez and plan the

robbery.

     On August 9, 2009, Mayfield, Kindle, Ward, and an individual

known as “New York” (who was not a defendant in this case) met with

Gomez in Gomez’s SUV.      Gomez testified that Kindle was present for

the duration of this meeting, was within arm’s reach at all times,

paid attention to what was being said, and participated in the

conversation.     In addition to Gomez’s testimony, the jury also

listened to a recording of the conversation.

     At the beginning of this meeting, Gomez repeated that he was

a disgruntled drug courier looking for a crew to help him rob a

stash house of 25-35 kilograms of cocaine.             He explained that he

received a phone call the day before a pickup letting him know to

be ready the next day and another phone call twenty minutes before

the pickup informing him of the location of the stash house.

     Mayfield, Kindle, Ward, and New York then planned the robbery

and asked Gomez detailed questions about the stash house.                 Gomez

told them that he wanted to split the proceeds of the robbery so

that each person would get one fifth of the total cocaine stolen.


                                    - 3 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 4 of 16 PageID #:1062



Gomez answered questions regarding the number of guards in the

house, whether the guards carried firearms, how long Gomez was

usually in the stash house, and how Gomez would contact them when

the drugs arrived at the stash house.         New York explained that they

would shoot the guard in charge first, they would be carrying

silencers, and that they wanted Gomez to be ready to go into hiding

if the robbery went badly.         At one point, Gomez said “So if you

guys said to me right now, hey, listen, this is way too much for

you to handle -- for you guys to handle, let me know now.”                    In

response to this, Gomez testified that Kindle “shook his head no.”

Mayfield also shook his head no, while New York said no and Ward

explained that it wasn’t too much to handle, but that they wanted

to get as much information as possible to ensure they were not

walking into the situation blindly.           At the end of this meeting,

Gomez told the crew that as soon as he received the call from the

stash house to be ready the next day, he would call Mayfield who in

turn would call Kindle, Ward, and New York.

     On the evening of August 9, after the crew left, Gomez called

Mayfield, told him that the stash house had called and that the

robbery was on for the next day, and told him to meet the next day

in a particular parking lot.       On August 10, Mayfield arrived in the

parking lot in a brown van driven by Ward, with Kindle in the

passenger seat.    Mayfield got out of the van and into Gomez’s SUV.

Gomez then drove out of the parking lot and led the van to a


                                    - 4 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 5 of 16 PageID #:1063



storage facility.      At the storage facility, everyone got out of

their vehicles and met in a semicircle.           Gomez discovered at this

time that New York was absent, and in his place was White.                Gomez

then asked White if he knew why they were there, what they were

going to do, and whether he was ready to do it.           White responded in

the affirmative.     Gomez then asked Kindle if he was good, to which

Kindle replied yes.      At this point, Gomez gave the arrest signal

and Mayfield, Kindle, Ward, and White were arrested.

     2.   Testimony of Heiserman, Rotunno, Stemmet, and Labno

     Agent Heiserman (“Heiserman”) testified about his search of

the brown van that Kindle used.        Heiserman found a mask, a shotgun

wrapped in a towel, and three bags in the van.               Inside of these

bags, Heiserman found a .44 caliber Ruger revolver, a Glock 22

semiautomatic pistol, two masks, two bulletproof vests, and latex

gloves.

     Agent Rotunno testified that he searched White after the

arrest and found a mask in White’s pocket.

     Officer Stemmet testified that he recovered a .357 magnum

handgun from the rear cargo area of Gomez’s vehicle the day after

the arrest.   No one noticed the gun at the time of the arrest, but

Gomez testified that when he later reviewed the video recording

from the SUV, he can see that Mayfield threw the gun into the cargo

area when Gomez was not looking. After Gomez’s testimony about the

video, the jury watched the video themselves.


                                    - 5 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 6 of 16 PageID #:1064



     Agent Labno (“Labno”) testified to his knowledge of illegal

narcotics, including his training and undercover experience. Labno

testified that a kilogram of cocaine had a market price of between

$27,000 and $29,000 in August 2009.         Labno also testified that any

amount of cocaine over an ounce is typically for distribution, and

not personal use.     In particular, Labno stated that a kilogram or

more is consistent with distribution by a drug dealer and not

consumption by a drug user.

                        3.   Testimony of Karcesky

     Agent Karcesky (“Karcesky”) was responsible for interviewing

Kindle after he was arrested.            Karcesky testified that Kindle

provided a fairly full explanation of the incident.                    Kindle’s

statements corroborated much of the other testimony in this case

and also provided a few new details that were unknown to law

enforcement.     The corroboration is unnecessary to review, as it

simply added to the weight of other testimony, but the new details

are worth describing. Mayfield contacted Kindle about driving down

to Naperville to meet a drug courier about a robbery.               After this

meeting on August 9, Mayfield said that he, Ward, and New York

would storm into the stash house after Gomez knocked on the door,

shoot the three guards, take the cocaine, and leave while Kindle

waited in the van as the getaway driver.               Kindle overheard the

other three discuss guns after the meeting, but Kindle did not

participate in this conversation or hear details. Kindle explained


                                    - 6 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 7 of 16 PageID #:1065



that   after   they    met    Gomez   on   August   9,   Mayfield   stayed     in

Naperville while Kindle, Ward, and New York went back home until

they received a call from Mayfield to return on August 10.                  They

could not contact New York, so White replaced him even though

Kindle did not know White prior to August 10.              Kindle, Ward, and

White then drove to Naperville and picked up Mayfield before

meeting with Gomez.

                              II.   LEGAL STANDARD

       Federal Rule of Criminal Procedure 29 states that “the court

on the defendant’s motion must enter a judgment of acquittal of any

offense for    which    the    evidence    is   insufficient to      sustain      a

conviction.”    “[A] judgment of acquittal should only be granted if

the evidence, looked at in the government’s favor, is so scant that

the jury could only speculate as to the defendant’s guilt, and a

reasonably minded jury must have had a reasonable doubt as to the

defendant’s guilt.”          United States v. Howard, 179 F.3d 539, 542

(7th Cir. 1999). “A defendant’s burden in showing the evidence was

insufficient to support a conviction is ‘nearly insurmountable.’

We view the evidence in the light most favorable to the government

and will overturn a conviction ‘only if the record contains no

evidence, regardless of how it is weighed,’ from which the jury

could have found the defendant was guilty.”                United States v.

Rollins, 544 F.3d 820, 835 (7th Cir. 2008) (citations omitted).




                                      - 7 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 8 of 16 PageID #:1066



      Federal Rule of Criminal Procedure 33 provides that “[u]pon

the defendant's motion, the court may vacate any judgment and grant

a new trial if the interest of justice so requires.”

                               III.    ANALYSIS

                               A.     Acquittal

      Defendant moves for an acquittal because he alleges that there

was insufficient evidence at trial for a jury to convict him on any

of his charges.

                                1.     Count 1

      The jury found Defendant guilty on Count 1, which charged him

with a conspiracy to possess with intent to distribute cocaine.

Defendant’s argument on this count is two pronged:             the government

failed to prove that Defendant joined the conspiracy, and failed to

prove that the conspiracy involved drug distribution.

      “Conspiracy is agreement to violate some other law.”               United

States v. Bartlett, 567 F.3d 901, 905 (7th Cir. 2009).                       The

government must prove that Defendant knew the illegal objective of

the   conspiracy,    and    knowingly     and     intentionally     agreed    to

participate.    Id. at 810-11.        “Though it might seem odd, the fact

that the stash house, the drugs -- indeed the whole plot -- was

fake is irrelevant.         That the crime agreed upon was in fact

impossible to commit is no defense to the crime of conspiracy.”

United States v. Corson, 579 F.3d 804, 810 (7th Cir. 2009).




                                      - 8 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 9 of 16 PageID #:1067



       Defendant argues that he merely showed up at two meetings with

Gomez and that there was no evidence of an agreement between

himself and Mayfield, Ward, White, or New York to rob the drug

stash house.      The record does not support Defendant’s argument.

First, there was sufficient evidence that Defendant knew the

illegal   objective      of   the    conspiracy.           Defendant     traveled   to

Naperville with Ward and New York to meet with Mayfield, who told

all three that he had a “lick” (meaning a robbery).                     Defendant was

told that Mayfield knew a drug courier and that with the courier’s

help they were going to rob a drug stash house. Defendant then met

with Gomez and discussed the robbery, including details such as the

layout of the stash house, how many kilograms of cocaine were

inside, and how many armed guards were present.

       Second, there was also sufficient evidence that Defendant

knowingly and intentionally agreed to participate. Gomez testified

that   Defendant    actively        participated      in    the    conversation     on

August 9, and asked questions such as:               “How long do you be in the

house from the time you get there until the time you leave?”

(asking   Gomez    how   long   it     took    him   to     pick   up    the   cocaine

shipment); “Most important thing, most important thing, man, the

guarantee we need out of you, how many motha fuckers are going to

be in the crib” (asking Gomez for a guarantee on the number of

guards in the stash house); “But they not gonna let you get on no

phone and all” (verifying that there was no way for Gomez to signal


                                       - 9 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 10 of 16 PageID #:1068



the crew from inside the stash house); and “Do he ever have

anything in his hand? Like a pistol? Does he ever answer the door

with a pistol in his hand?” (asking how the guard answering the

door is armed).     Gomez asked the crew if the robbery was too much

to handle, and testified that Defendant shook his head “no.”

     After this meeting, Defendant met with Mayfield, Ward, and New

York and discussed how the robbery would be executed. Mayfield said

that he wanted the stash house stormed and the guards “took out,”

and Defendant repeatedly told Karcesky that he knew his role was to

act as the getaway driver.        The jury could also infer Defendant’s

agreement to participate when he returned to Naperville the next

day when the robbery was to take place, with Ward, White, and

equipment for armed robbery.           When Defendant met with Gomez to

review the robbery plan again, Gomez asked the crew if they were

“good” for the robbery, to which Defendant replied yes.                     This

evidence was sufficient for a jury to find that Defendant joined

the conspiracy.

     Defendant’s second line of argument is that the conspiracy did

not include the distribution of drugs, only the theft of drugs.

The evidence at trial concerning this aspect of the case included

the statements made during various meetings, as well as testimony

by an expert on drug transactions, Labno.

     During the first meeting of the co-conspirators on August 9,

New York said:


                                    - 10 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 11 of 16 PageID #:1069



     But, uh, what I was gonna say, man, I wish I would have
     knew. ‘Cause, you know, we buy that shit too. Ya know,
     we could’ve -- I could have been telling you. I’s just
     tellin’ him, I wish I would’ve knew, because I buy like
     that too, though.

     Gomez testified that he believed New York meant that the

entire crew bought and sold cocaine, and that they wish they knew

he was a courier because they could have bought from him. New York

went on to state that “we got a way to move it,” referring to the

proceeds of the robbery.         Although New York was not present on

August 10 when the crew was arrested, Defendant was present when

New York said these things to the group and did not object or in

any way indicate New York’s statement was false.

     During both the August 9 and August 10 meetings, Gomez told

the crew that the stash house contained 25-35 kilograms of cocaine,

and that this was to be split five ways.             Gomez added the phrase

that “everybody’s going to eat.”          Defendant was present for these

statements, and knew that he would receive five kilograms or more

of cocaine out of the robbery.         Labno testified that a kilogram of

cocaine would be an amount far beyond what a person would have for

personal use and instead is consistent with a distributional amount

of cocaine.    Labno explained that a person would only possess six

to ten kilograms of cocaine if they were distributing it, due to

risk of theft or detection by law enforcement.              The references to

“moving” the drugs after they were stolen, everyone receiving

multiple kilograms of cocaine, and testimony that a kilogram or


                                    - 11 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 12 of 16 PageID #:1070



more is a distributional amount provided sufficient evidence of an

intent to distribute the proceeds of the stash house robbery.

         Defendant’s reliance on Colon is misplaced.            In Colon, the

Seventh Circuit held that the sale of distributional amounts of

drugs, without more, cannot sustain a conspiracy conviction between

the buyer and seller.         United States v. Colon, 549 F.3d 565, 569

(7th Cir. 2008). This legal authority does not demand an acquittal

in this case, as the co-defendants were not related to each other

by   a    simple   buy-sell   relationship.       Contrary     to   Defendant’s

characterization, this was not a crime where Gomez said he would

pay the co-conspirators for the robbery in drugs, but instead it

was one where the entire crew was going to share in the proceeds

evenly.     The co-defendants in this case reached a clear agreement

to possess drugs which they all had an intent to distribute.                 The

type of agreement in the present case, as opposed to a simple buy-

sell agreement, has been the basis of a guilty verdict for a

conspiracy to possess with intent to distribute in a few cases.

E.g., Corson, 579 F.3d 804; United States v. Harris, 570 F.Supp.2d

1030 (N.D. Ill. 2008).         There was sufficient evidence to support

the jury’s verdict on Count 1, both in regards to Defendant joining

the conspiracy and the intent to distribute the drug proceeds of

the robbery.




                                    - 12 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 13 of 16 PageID #:1071



                                 2.    Count 2

     The jury found Defendant guilty on Count 2, which charged him

with an attempt to possess with intent to distribute cocaine.

Defendant did not develop an argument with respect to this count

separate from the argument related to Count 1.              Even if Defendant

did develop an argument, there was sufficient evidence supporting

the jury’s verdict on this count. To prove attempt, the government

had to prove that Defendant “acted with specific intent to commit

the underlying offense, and in addition took a substantial step

toward its completion.”       United States v. Leiva, 959 F.2d 637, 642

(7th Cir. 1992) (citation omitted).            The jury heard evidence that

Defendant intended to possess the cocaine in the stash house

through robbery and that it was intended for distribution.                  They

also heard that Defendant showed up on August 10 with his co-

conspirators, arrived in a van with appropriate equipment for armed

robbery, and was ready to commit the robbery as soon as Gomez gave

them the address of the stash house.           At this point, the jury could

find that Defendant had taken a substantial step toward completion

of the offense.      The jury had sufficient evidence of guilt as to

Defendant on Count 2.

                         3.   Count 3 and Count 5

     The jury found Defendant guilty on Count 3, which charged him

with possession of a firearm in furtherance of a drug crime,

specifically the crime alleged in Count 1, and found him guilty on


                                      - 13 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 14 of 16 PageID #:1072



Count 5, which charged him with possession of a firearm by a

previously convicted felon.

      Defendant’s first argument for acquittal on these counts is

that there was no evidence that Defendant possessed a weapon at

all, much less possessed a weapon in furtherance of a conspiracy.

For   both   Counts,   the   government      may   prove    either   actual    or

constructive possession of a firearm. United States v. Kitchen, 57

F.3d 516, 520 (7th Cir. 1995).           “Constructive possession exists

when a person does not have actual possession but instead knowingly

has the power and the intention at a given time to exercise

dominion and control over an object, either directly or through

others.” Id. (citation omitted).

      The jury heard testimony by Gomez that Defendant was present

when it was discussed that the crew would have to “lay down” or

shoot the guards at the stash house.            Karcesky told the jury that

Defendant    knew   Mayfield    wanted    the   guards     “took   out,”   which

Karcesky explained meant shot or killed.                 The jury also heard

Heiserman’s testimony that he found three firearms in the brown van

in which Defendant traveled on August 10.                  In particular, the

shotgun was found on the floor of the van near the middle-row

seats. Gomez testified that Defendant moved to the back of the van

(thereby sitting in or crossing the middle row of seats) when

Mayfield stepped out of the van on August 10.




                                    - 14 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 15 of 16 PageID #:1073



     In this situation, a jury had sufficient evidence to convict

Defendant on Counts 3 and 5.          The jury had sufficient evidence to

find that Defendant actually possessed a firearm, or constructively

possessed one, given his immediate access to the firearms in the

brown van.      Defendant also knew that the plan was to storm a stash

house with three armed guards and kill or shoot them, so it was

clearly foreseeable that firearms were to be used by others to

commit   this    offense.      This    evidence    is   sufficient    to   prove

possession of a gun in furtherance of a drug crime under Count 3.

Defendant stipulated to a prior felony conviction, so the evidence

of possession alone was sufficient for Count 5.

     Defendant’s second argument for acquittal on these counts is

that since the government did not prove the conspiracy in Count 1,

the gun possession charges must fail.             Since the Defendant failed

to carry his burden of demonstrating insufficient evidence on which

to convict him of Count 1, as detailed above, the premise of this

argument fails.      In addition, this argument is a non-starter in

regards to Count 5, which has no dependency on Count 1 because it

simply charges Defendant with possession of a firearm after being

convicted of a felony.

                                B.    New Trial

     Defendant moves for a new trial.          Defendant’s entire argument

in support of this motion is that he “respectfully requests that

this Honorable Court grant him a new trial based on all issues


                                      - 15 -
 Case: 1:09-cr-00687 Document #: 198 Filed: 09/14/10 Page 16 of 16 PageID #:1074



raised in previously filed pre-trial motions.”             To the extent that

this portion of the motion seeks relief on grounds separate from

that discussed in the acquittal section above, it is an entirely

undeveloped     argument.        Defendant      cites    to    no   change     in

circumstances or evidence since the rulings, legal mistake in the

rulings, or improper application of the rulings at the time of

trial. This conclusory argument is insufficient to meet the burden

placed on Defendant to prove adequate grounds for relief under

Rule 33.   See United States v. Fechete, No. 06 CR 0923, 2008 U.S.

Dist. LEXIS 77391 (N.D. Ill. Sept. 10, 2008).

                              IV.    CONCLUSION

     For the reasons stated herein, Defendant’s Motion for a New

Trial or a Judgment of Acquittal is denied.

IT IS SO ORDERED.




                                           Harry D. Leinenweber, Judge
                                           United States District Court

DATE: 9/14/2010




                                    - 16 -
